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8
                          UNITED STATES DISTRICT COURT
9
                        CENTRAL DISTRICT OF CALIFORNIA
10
                                 SOUTHERN DIVISION
11
12   SECURITIES AND EXCHANGE                      Case No. 8:16-cv-02257-CJC-DFM
     COMMISSION,
13                                                PLAINTIFF SECURITIES AND
                  Plaintiff,                      EXCHANGE COMMISSION’S
14                                                STATEMENT OF NON-
            vs.                                   OPPOSITION TO MOTION OF
15                                                RECEIVER, THOMAS A.
     EMILIO FRANCISCO, et al,,                    SEAMAN, FOR ORDER
16                                                APPROVING: (1) SALE OF
                  Defendants.                     SUMMERFIELD PROPERTY; (2)
17                                                REAL ESTATE COMMISSION;
                                                  AND (3) OVERBID PROCEDURES
18
                                                  Date:     September 10, 2018
19                                                Time:     1:30 p.m.
                                                  Place:    Courtroom 9B
20                                                Judge:    Hon. Cormac J. Carney
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1          Plaintiff Securities and Exchange Commission (“SEC”) does not oppose the
2    Motion of Receiver, Thomas A. Seaman, for Order Approving: (1) Sale of
3    Summerfield Property; (2) Real Estate Commission; and (3) Overbid Procedures.
4          The SEC supports the proposed sale at a price of $650,000, as well as the
5 overbid procedures. In addition, the proposed real estate commission is reasonable.
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10                                               Respectfully submitted,

11   Dated: August 20, 2018                      /s/ John B. Bulgozdy
12                                               John B. Bulgozdy
                                                 Adrienne D. Gurley
13                                               Attorneys for Plaintiff
14                                               Securities and Exchange Commission
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 1                                  PROOF OF SERVICE
 2   I am over the age of 18 years and not a party to this action. My business address is:
 3         U.S. SECURITIES AND EXCHANGE COMMISSION,
           444 S. Flower Street, Suite 900, Los Angeles, California 90071
 4         Telephone No. (323) 965-3998; Facsimile No. (213) 443-1904.
 5 On August 20, 2018, I caused to be served the document entitled PLAINTIFF
   SECURITIES AND EXCHANGE COMMISSION’S STATEMENT OF NON-
 6 OPPOSITION TO MOTION OF RECEIVER, THOMAS A. SEAMAN, FOR
   ORDER APPROVING: (1) SALE OF SUMMERFIELD PROPERTY; (2) REAL
 7 ESTATE      COMMISSION; AND (3) OVERBID PROCEDURES on all the parties
   to this action addressed as stated on the attached service list:
 8
   ☐      OFFICE MAIL: By placing in sealed envelope(s), which I placed for
 9 collection and mailing today following ordinary business practices. I am readily
   familiar with this agency’s practice for collection and processing of correspondence for
10 mailing; such correspondence would be deposited with the U.S. Postal Service on the
   same day in the ordinary course of business.
11
          ☐      PERSONAL DEPOSIT IN MAIL: By placing in sealed envelope(s),
12 which I personally deposited with the U.S. Postal Service. Each such envelope was
   deposited with the U.S. Postal Service at Los Angeles, California, with first class
13 postage thereon fully prepaid.
14       ☐     EXPRESS U.S. MAIL: Each such envelope was deposited in a facility
   regularly maintained at the U.S. Postal Service for receipt of Express Mail at Los
15 Angeles, California, with Express Mail postage paid.
16 ☐      HAND DELIVERY: I caused to be hand delivered each such envelope to the
   office of the addressee as stated on the attached service list.
17
   ☒      UNITED PARCEL SERVICE: By placing in sealed envelope(s) designated
18 by United Parcel Service (“UPS”) with delivery fees paid or provided for, which I
   deposited in a facility regularly maintained by UPS or delivered to a UPS courier, at
19 Los Angeles, California.
20 ☒      ELECTRONIC MAIL: By transmitting the document by electronic mail to the
   electronic mail address as stated on the attached service list.
21
   ☒      E-FILING: By causing the document to be electronically filed via the Court’s
22 CM/ECF system, which effects electronic service on counsel who are registered with
   the CM/ECF system.
23
   ☐      FAX: By transmitting the document by facsimile transmission. The
24 transmission was reported as complete and without error.
25         I declare under penalty of perjury that the foregoing is true and correct.
26 Date: August 20, 2018                        /s/ John B. Bulgozdy
27                                              John B. Bulgozdy
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1                           SEC v. Emilio Francisco, et al.
              United States District Court—Central District of California
2                         Case No. 8:16-cv-02257-CJC-DFM
3
                                   SERVICE LIST
4
5              Emilio Francisco (served by email and UPS)
               15 Rue Saint Cloud
6              Newport Beach, CA 92660
               Email: Emilio@drlawcenter.com
7              Pro se
8              David R. Zaro, Esq. (served by CM/ECF only)
               Edward G. Fates, Esq. (served by CM/ECF only)
9              Allen Matkins Leck Gamble Mallory & Natsis LLP
               865 S. Figueroa Street, Suite 2800
10             Los Angeles, CA 90017
               Email: dzaro@allenmatkins.com
11             Attorney for Receiver Thomas A. Seaman, Receiver for: Defendant
               Caffe Primo International, Inc.; Defendant SAL Assisted Living, LP;
12             Defendant SAL Carmichael, LP; Defendant SAL Citrus Heights, LP;
               Defendant SAL Kern Canyon, LP; Defendant SAL Phoenix, LP;
13             Defendant SAL Westgate, LP; Defendant Summerplace at Clearwater,
               LP; Defendant Summerplace at Correll Palms, LP; Defendant
14             Summerplace at Sarasota, LP; Defendant TRC Tucson, LP; Defendant
               Clear Currents West, LP; Defendant Caffe Primo Management, LP;
15             Defendant Caffe Primo Management 102, LP; Defendant Caffe Primo
               Management 103, LP; Defendant Caffe Primo Management 104, LP;
16             Defendant Caffe Primo Management 105, LP; Defendant Caffe Primo
               Management 106, LP; Defendant Caffe Primo Management 107, LP;
17             Defendant Caffe Primo Management 108, LP
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